 Case 20-03190-sgj Doc 84 Filed 02/02/21         Entered 02/02/21 17:29:16      Page 1 of 4



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ATTORNEYS FOR DEFENDANT JAMES DONDERO

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re:                            §                              Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                              Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
                                   §
v.                                 §
                                   §                              Adversary No. 20-03190
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

             JAMES DONDERO’S AMENDED WITNESS AND EXHIBIT LIST

         Defendant James Dondero (“Dondero”) hereby files this Amended Witness and Exhibit

List with respect to the hearing on Plaintiff’s Motion for an Order Requiring Mr. James Dondero

to Show Cause Why He Should not be Held in Civil Contempt for Violating the TRO [Adv. Dkt.

48] and Debtor’s Memorandum of Law in Support of Motion for an Order Requiring Mr. James

Dondero to Show Cause Why He Should Not Be Held in Civil Contempt for Violating the TRO



JAMES DONDERO’S WITNESS AND EXHIBIT LIST                                               PAGE 1
 Case 20-03190-sgj Doc 84 Filed 02/02/21           Entered 02/02/21 17:29:16     Page 2 of 4




[Adv. Dkt. 49] (collectively, the “Contempt Motion”) set for hearing on February 5, 2021 at 9:30

a.m. (the “Hearing”) in the above-styled adversary proceeding (the “Adversary Proceeding”).

A.        Documents that Dondero may use as exhibits:

 Dondero        Description                             Offered   Objection   Admitted Admitted
 Exhibit                                                                         by
 No.                                                                          Agreement

     1.         Amended and Restated Shared
                Services Agreement, dated effective
                as of January 1, 2018, by and between
                Highland Capital Management, L.P.
                and NexPoint Advisors, L.P.

     2.         Second Amended and Restated
                Shared Services Agreement by and
                between       Highland       Capital
                Management, L.P. and Highland
                Capital Management Fund Advisors,
                L.P., dated February 8, 2013

     3.         Debtor’s Responses and Objections
                to Defendant James Dondero’s First
                Set of Discovery Requests to
                Highland Capital Management, L.P.

     4.         Debtor’s Notice of Termination of
                Shared Services Agreement with
                NexPoint Advisors, L.P. effective
                January 31, 2021

     5.         Debtor’s Notice of Termination of
                Shared Services Agreement with
                Highland Capital Management Fund
                Advisors, L.P. effective January 31,
                2021

     6.         Employee Handbook of Highland
                Capital Management, L.P.

     7.         Debtor’s Response to Mr. James
                Dondero’s Motion for Entry of an
                Order Requiring Notice and Hearing
                for Future Estate Transactions
                Occurring Outside the Ordinary


JAMES DONDERO’S WITNESS AND EXHIBIT LIST                                                PAGE 2
 Case 20-03190-sgj Doc 84 Filed 02/02/21               Entered 02/02/21 17:29:16      Page 3 of 4




                 Course of Business [Docket No.
                 1546]

     8.          Subpoena on Jason Rothstein and
                 Return of Service of Subpoena

     9.          Email from Debtor’s counsel to
                 Dondero’s counsel, dated December
                 23, 2020

     10.         Dondero’s Objections and Responses
                 to Debtor’s First Request for
                 Production

                 Any document or pleading filed in the
                 above-captioned bankruptcy case or
                 adversary proceeding

                 Any exhibit necessary for
                 impeachment or rebuttal purposes

                 Any and all documents identified or
                 offered by any other party



          Dondero reserves the right to supplement this Exhibit List should he determine that any

other document may be helpful to the trier of fact, whether in his case in chief or rebuttal.

B.        Witnesses that Dondero may call to testify:

          1.     James Dondero;

          2.     James P. Seery, Jr.;

          3.     Scott Ellington;

          4.     Isaac Leventon;

          5.     Jason Rothstein;

          6.     Any and all other witnesses identified or called by any other party; and

          7.     Any witness necessary for rebuttal.

          Dondero reserves the right to supplement this Witness List should he determine that any



JAMES DONDERO’S WITNESS AND EXHIBIT LIST                                                        PAGE 3
 Case 20-03190-sgj Doc 84 Filed 02/02/21             Entered 02/02/21 17:29:16         Page 4 of 4




other witness may be helpful to the trier of fact, whether in his case in chief or rebuttal.


Dated: February 2, 2021                        Respectfully submitted,

                                               /s/ Bryan C. Assink
                                               D. Michael Lynn
                                               State Bar I.D. No. 12736500
                                               John Y. Bonds, III
                                               State Bar I.D. No. 02589100
                                               John T. Wilson, IV
                                               State Bar I.D. No. 24033344
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                                               Email: bryan.assink@bondsellis.com

                                               ATTORNEYS FOR DEFENDANT JAMES DONDERO

                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on February 2, 2021, a true and correct copy of the
foregoing document with exhibits was served via the Court’s CM/ECF system on all parties
requesting or consenting to such service in this case.

                                               /s/ Bryan C. Assink
                                               Bryan C. Assink




JAMES DONDERO’S WITNESS AND EXHIBIT LIST                                                       PAGE 4
